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 8                                 UNITED STATES DISTRICT COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
10                             (HONORABLE BARRY TED MOSKOWITZ)
11   UNITED STATES OF AMERICA,           )               Criminal Case No. 09CR1393-BTM
                                         )
12                     Plaintiff,        )               ORDER
                                         )
13         v.                            )
                                         )
14   KERRY CORNELL WILLIAMS (1),         )
     DAMIAN ABDON MORENO-LOPEZ (2) )
15                                       )
                       Defendant.        )
16   ____________________________________)
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            IT IS HEREBY ORDERED after appropriate inquiry and good cause being shown that the
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     sentencing hearings in the above-captioned case be continued from February 19, 2010 at 9:30 a.m., for
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     WILLIAMS, and February 12, 2010 at 11:30 a.m., for MORENO-LOPEZ, to March 19, 2010 at
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     10:00 a.m. for both defendants.
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22
     DATED: February 10, 2010
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                                                   Honorable Barry Ted Moskowitz
25                                                 United States District Judge
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